
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-08-00215-CR


______________________________




MICHAEL CHARLES SILVER, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 8th Judicial District Court


Hopkins County, Texas


Trial Court No. 0820179




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Justice Moseley



MEMORANDUM OPINION



	Michael Charles Silver appeals from his verdict of bail jumping and failure to appear.  See
Tex. Penal Code Ann. § 38.10(f) (Vernon 2003).  The sentence was imposed September&nbsp;23, 2008. 
Silver filed two notices of appeal and a motion for new trial on October&nbsp;24, 2008, by hand delivering
them to the district clerk of Hopkins County.  

	A late notice of appeal is considered timely and thus invokes the appellate court's jurisdiction
if (1) it is filed within fifteen days of the last day allowed for filing, (2) a motion for extension of
time is filed in the court of appeals within fifteen days of the last day allowed for filing the notice
of appeal, and (3) the court of appeals grants the motion for extension of time.  Olivo v. State, 918
S.W.2d 519 (Tex. Crim. App. 1996).  Further, when a notice of appeal is filed within the fifteen-day
period but no timely motion for extension of time is filed, the appellate court lacks jurisdiction.  Id. 
at 522 (citing Rodarte v. State, 860 S.W.2d 108 (Tex. Crim. App. 1993)).  

	The Texas Court of Criminal Appeals interprets Rule 26.3 of the Texas Rules of Appellate
Procedure strictly to require an appellant in a criminal case to file his notice of appeal and a motion
for extension within the fifteen-day period for filing a late notice of appeal.  Id. at 522-26; see Tex.
R. App. P. 26.3.  The Texas Court of Criminal Appeals has expressly held that without a timely-filed
notice of appeal or motion for extension of time, we cannot exercise jurisdiction over an appeal.  
See Olivo, 918 S.W.2d at 522; see also Slaton v. State, 981 S.W.2d 208, 209 n.3 (Tex. Crim. App.
1998).

	According to Rule 26.2 of the Texas Rules of Appellate Procedure and the above caselaw,
Silver had thirty days after the day sentence was imposed to file a notice of appeal, or timely file a
motion for new trial and thereby extend his time to file a notice of appeal.  See Tex. R. App. P.  21.4,
26.2(a)(1).  Silver's motion for new trial was filed October 24, 2008, by hand delivery, and therefore
was not timely.  Silver therefore had until October 23, 2008, to file a notice of appeal.  Silver's
notices of appeal were filed one day late, on October 24, 2008, by hand delivery.  Further, no motion
for extension of time to file the notice of appeal was filed.  Hence, this appeal is untimely, and we
are without jurisdiction to hear this case.

	We dismiss this appeal for want of jurisdiction.  




						Bailey C. Moseley

						Justice


Date Submitted:	February 10, 2009

Date Decided:		February 11, 2009


Do Not Publish


